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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                           CASE NO. 18-20668-CR-MIDDLEBROOKS

  UNITED STATES OF AMERICA,
       Plaintiff,

          vs.

  SUNIL CHOPRA,
       Defendant,

          and

  FIDELITY INVESTMENTS;
        Garnishee.
                                                           /


   ORDER ON MOTION TO RELEASE ACCOUNTS FROM WRIT OF GARNISHMENT

          This matter is before the Court on the parties Agreed Motion to Release Accounts from
  Writ of Garnishment. The Court having considered the Motion and being otherwise fully advised
  in the premises; it is
          ORDERED AND ADJUDGED that the motion is GRANTED. Fidelity Investments is
  directed to release account number XXX-XX2363 belonging to A.A.C., and account number
  XXX-XX2364 belonging to S.I.C., which shall no longer be subject to the writ of garnishment
  [D.E. 638]. The writ of garnishment shall otherwise remain in full force and effect as to any other
  accounts in which the Defendant has an ownership interest.
          DONE AND ORDERED in Chambers at West Palm Beach, Florida, this 10th day of

  March, 2022.




                                                               Donald M. Middlebrooks
                                                               United States District Judge

  cc: Counsel of Record
